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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

 SPEECH FIRST, INC.,
                              Plaintiff,
                                           Case No. 6:21-cv-00313
 v.

 ALEXANDER CARTWRIGHT, in
 his official capacity as President of
 the University of Central Florida, et
 al.,
                            Defendants.

                     DECLARATION OF STUDENT A
      1.    I am a junior at the University of Central Florida (“the

University”).

      2.    I am over the age of eighteen and under no mental disability or

impairment. I have personal knowledge of the following facts and, if called as

a witness, would competently testify to them.

      3.    I am a member of Speech First.

      4.    I am politically conservative and have views that are unpopular,

controversial, and in the minority on campus.

      5.    I believe that affirmative action is deeply unfair. It helps one racial

group (e.g., African Americans) by harming other racial groups (e.g., whites

and Asian Americans).
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      6.    I believe that abortion is immoral, that a baby is not a woman’s

“property” just because it is not outside of the womb, and that abortion is

another form of slavery.

      7.    I believe that a person is either a man or a woman, that a man

cannot become a woman because he “feels” like one, and that a woman cannot

become a man because she “feels” like one. I do not want to be forced to call

people by the gender of their choice.

      8.    I believe the government should not be in the business of marriage

and should not be able to force religious organizations to recognize marriages

with which they disagree.

      9.    I believe that illegal immigration is dangerous and ruins

economies. I believe that people can be “illegal aliens.”

      10.   I strongly support Israel and believe that the Palestinian

movement is anti-Semitic.

      11.   I strongly support the Second Amendment and believe that efforts

to take guns away from citizens is deeply dangerous.

      12.   I enrolled in the University because I wanted to learn in a

challenging environment where students and faculty are free to engage in

lively, fearless debate and deliberation.




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      13.    I want to engage in open and robust intellectual debate with my

fellow students about these topics in the classroom, in other areas of campus,

online, and in the City of Orlando.

      14.    Because I have strong views on these issues, I want to speak

passionately and repeatedly about them. I want to point out the flaws in fellow

students’ arguments and encourage them to change their minds or, at a

minimum, to understand my views.

      15.    But the University’s harassment and computer policies and the

Just Knights Response Team make me reluctant to openly express my

opinions.

      16.    I do not fully express myself or talk about certain issues, however,

because I fear that sharing my beliefs may be considered “discriminatory

harassment.” I fear that other students will find my views “unwanted” or

“humiliating” or claim that my views “interfere[] with” their educational

opportunities. Many of the topics that I want to address could easily be

considered    “discriminatory”    under     the   University’s    definition   of

“discriminatory harassment.” My fears are grounded in my own personal

experiences on campus.

      17.    My fears are amplified by the fact that the University can punish

me not only for committing “discriminatory harassment” myself, but also for




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“complicity” or “failing to intervene” during someone else’s “discriminatory

harassment.”

      18.    I also want to use the University email system to contact other

students in support of conservative initiatives and to oppose student-

government proposals regarding controversial political issues. But I do not

fully express myself or talk about certain issues because I fear that doing so

will be considered a violation of the ResNet User Agreement and UCF Policy

4-002.2, and that I will lose my network privileges or even face disciplinary

sanctions as a result. I am scared that other students will characterize emails

asserting my beliefs as “harassing,” “invasive,” “unwanted,” or “hate

messages.”

      19.    Finally, I do not fully express myself or talk about certain issues

because I fear that other students, faculty members, or others will report me

to the Just Knights Response Team for committing a “bias-related” offense. I

worry that there are other students who will “catch me” engaging in “biased”

speech and that the University will take action against me. For example, I’m

afraid that the Just Knights Response Team will keep a record on me, share

the allegations with others within the university, call me in for meetings, or

refer the allegations to the Office of Student Rights and Responsibility or the

UCF police department.




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      20.   I am aware of the recent investigation and subsequent termination

of former University Professor Charles Negy, after he expressed his own

opinions on Twitter in June 2020. Seeing a psychology professor investigated

and fired for his private speech only heightens my fear of expressing my views.

If a tenured professor can be fired for speech, I worry what will happen to me.

      21.   I am signing this declaration under a pseudonym because I am a

current student at the University and, if my participation in this litigation

becomes public, I fear reprisal from the University, my professors, my fellow

students, and others.




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